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 5
     Attorney for Defendant, FRANCES REYNA GALVAN
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 8
                          IN THE UNITED STATES DISTRICT COURT FOR THE
 9
                                  EASTERN DISTRICT OF CALIFORNIA
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11
     UNITED STATES OF AMERICA,                   )   CASE NO. 1:16-cr-000122 DAD BAM
12                                               )
                   Plaintiff,                    )
13                                               )   WAIVER OF DEFENDANT FRANCES
                                                 )   GALVAN’S APPEARANCE AT
14   vs.                                         )   ALL NON-SUBSTANTIVE PRETRIAL
                                                 )   PROCEEDINGS AND PROPOSED ORDER
15                                               )   THEREON
                                                 )
16   FRANCES REYNA GALVAN                        )
                                                 )
17                 Defendant.                    )
                                                 )
18   ___________________________________________)

19          Pursuant to Fed.R.Crim.P. 43(b)(3), Defendant FRANCES REYNA GALVAN, having

20   been advised of her right to be present at all stages of the proceedings, hereby requests
21   that this Court proceed in her absence on every occasion that the Court may permit,

22   pursuant to this waiver. Defendant agrees that her interests shall be represented at all

23   times by the presence of his attorney, Eric K. Fogderude, the same as if Defendant were

24   personally present, and requests that this court allow her attorney-in-fact to represent
     her
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     interests at all times. Defendant further agrees that notice to Defendant’s attorney that
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     Defendant’s presence is required will be deemed notice to the Defendant of the
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     requirement of her appearance at said time and place.
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                                                     1
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 1   GOOD CAUSE APPEARING, exists for the granting of this waiver because the

 2   Defendant is in 90 day treatment at Westcare Treatment facility.

 3
     DATED: August 1, 2016                          /s/ Frances Reyna Galvan
 4                                                  FRANCES REYNA GALVAN, Defendant

 5

 6   Dated: August 1, 2016                          Respectfully submitted,
                                                    FLETCHER & FOGDERUDE, INC.
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 8
                                                     /s/ Eric K. Fogderude
 9                                                  ERIC K. FOGDERUDE
                                                    Attorney for Defendant,
10                                                  FRANCES REYNA GALVAN

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12                                           ORDER

13      GOOD CAUSE APPEARING, it is hereby ordered that the Defendant’s Frances Reyna

14   Galvan (4) appearance may be waived at any and all non-substantive pretrial

15   proceedings until further order.

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17   IT IS SO ORDERED.
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        Dated:    August 3, 2016                       /s/ Barbara A. McAuliffe     _
19                                               UNITED STATES MAGISTRATE JUDGE
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